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   Sara D. Accardi
   Partner
   saccardi@bradley.com
   813.559.5500 direct




                                                              October 30, 2023

   VIA CERTIFIED MAIL – RETURN RECEIPT REQUESTED

    Ryan Atkin
    1500 Bay Road, Apt. 746
    Miami Beach, FL 33139

                                NOTICE OF DEFAULT AND RIGHT TO CURE

   RE:     Loan Number:
           Property Address:             1500 Bay Road, Apt. 746
                                         Miami Beach, FL 33139

   Dear Mr. Atkin,

           This firm represents Shellpoint Mortgage Servicing (“Shellpoint”), the servicer of the above-
   referenced loan, on behalf of The Bank of New York Mellon fka The Bank of New York as Trustee for
   the Certificateholders of the CWALT, Inc., Alternative Loan Trust 2007-OA4 Mortgage Pass-Through
   Certificates, Series 2007-OA4. Enclosed please find a notice of default and right to cure mailed by
   Shellpoint to you at your mailing address on October 10, 2023 (the “Default Notice”). As a courtesy,
   we are mailing the Default Notice to you at the address of the property securing the above-reference
   loan and extending deadline to cure the default referenced in the Default Notice to November 30, 2023.
   All other terms and conditions set forth in the Default Notice remain unchanged and are incorporated
   herein by reference.

           Please give this matter your immediate attention.

                                                              Sincerely,


                                                              Sara D. Accardi




         Bradley Arant Boult Cummings LLP | 100 North Tampa Street | Suite 2200 | Tampa, FL 33602 | 813.559.5500 | bradley.com
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                 IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                         IN AND FOR MIAMI-DADE COUNTY, FLORIDA
                                      CIVIL DIVISION

         BANK OF NEW YORK MELLON, AS                      GENERAL JURISDICTION DIVISION
         TRUSTEE

                Plaintiff,                                CASE NO.: 2009-087096-CA
         vs.

         RYAN ATKIN, et al.,

                Defendant(s).



                      BANK OF NEW YORK MELLON’S NOTICE OF DISMISSAL


               Pursuant to Fla. R. Civ. P. 1.420(a), Plaintiff Bank of New York Mellon, f/k/a The Bank

        of New York, as Trustee for the Certificateholders of the CWALT, Inc., Alternative Loan Trust

        2007-OA4 Mortgage Pass-Through Certificates, Series 2007-OA4, through counsel, hereby

        provides notice of dismissal without prejudice of its claims against all Defendants in this action.



                                                       /s/ D. Brian O’Dell
                                                      D. Brian O’Dell (FBN: 659665)
                                                      Lauren G. Raines (FBN: 11896)
                                                      BRADLEY ARANT BOULT CUMMINGS LLP
                                                      1819 Fifth Avenue North
                                                      Birmingham, AL 35203-2104
                                                      Telephone: (205) 521-8000
                                                      Facsimile: (205) 521-8800
                                                      bodell@bradley.com
                                                      lraines@bradley.com

                                                      ATTORNEYS FOR PLAINTIFF
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                                   CERTIFICATE OF SERVICE

           I hereby certify that on May 31, 2019, I served the foregoing by filing electronically with
   the Clerk of the Court using the Florida e-portal system which will send notification of such filing
   to the following counsel of record or by other means as indicated below:

          Miguel M. Cordano, Esq.
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          Boca Raton, Florida 33432
          eservice@tromberglawgroup.com

          Noy Hadar
          1500 Bay Road #746S
          Miami Beach, Florida 33139
          (via U.S. Mail)

          Unknown Tenant(s) in Possession of the Subject Property n/k/a Christine Dantes
          1500 Bay Road #746S
          Miami Beach, Florida 33139
          (via U.S. Mail)


                                                 /s/ D. Brian O’Dell
                                                 ONE OF THE ATTORNEYS FOR PLAINTIFF

                                                    2
